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                             Exhibit C
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  Unofficial Transcription of Hunter Sues Marco Polo Founder | The Vince Coglianese Show
                     https://www.youtube.com/watch?v=AEcml6aUDoM

  Speakers:     Vince Coglianese (“V. Coglianese”), Garret Ziegler (“G. Ziegler”)

  Date:         January 26, 2024

   Minute     Speaker         Dialog
   0:00:01    V. Coglianese   Good afternoon to you, 5:06 here at News Talk 105.9 WMAL
                              where we're making sense of the news. Comin’ up, 5:30, we'll talk
                              to Nathan Brinkman with EdReform Virginia about School Choice
                              Week and a big event tomorrow night with a familiar WMAL
                              host, wanna hear about that comin’ up. And you can join us at
                              888.630.9625, 888.630.WMAL, it would be great to have you
                              with us.
                              Yeah. Lawsuits, lawsuits, lawsuits. They're, they're all the rage
                              these days, especially if they're directed at people, ah, in and
                              around Donald Trump's orbit.
                              And among the people being sued by the left is my next guest. His
                              name is Garrett Ziegler. He's a founder of a great website called
                              Marco Polo. There you can find the contents of Hunter Biden's
                              infamous laptop, but he's also a former deputy to the Trump White
                              House advisor, Peter Navarro, who is also being subjected to legal
                              problems of his own this week by the left.
                              Ah, Garrett, good to have you with us. Thank you so much for
                              taking some time, sir.
              G. Ziegler      Thank you for having me on, I really appreciate this.
              V. Coglianese   They, ah, go ahead, go ahead.
              G. Ziegler      Well, I was just gonna say this reminds me of that famous Marx
                              quote about, uh “…to each according to his ability to each
                              according to his need.” That's what they're sort of doing with,
                              with, uh, DJT. He has the ability to pay $83 million to a crazed,
                              lunatic woman. And then, uh, Peter, you know is, is sentenced to
                              four months in prison. And, uh, I as the young guy, uh, can barely
                              hold off all of these lawsuits. So, it's a multi-vector attack, and like
                              you said, it's disgusting.
              V. Coglianese   It is disgusting, so let's, let's help people understand what's
                              happening in your saga. Like, give us a sense of, of, um, what the
                              Marco Polo website is and what you set up for people and how
                              Hunter Biden responded to it.
              G. Ziegler      Yes, so this c3, Marco Polo is a 501(c)(3) nonprofit, was set up in
                              July of ‘21 with the principal purpose being we were going to go
                              through every file on the laptop and write a comprehensive report,
                              sort of like a congressional subcommittee would write, that was
                              the vision.


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   Minute    Speaker         Dialog
             V. Coglianese   Sure.
             G. Ziegler      And so, on this website you can see and download all 128,000
                             emails from the Biden laptop. You can view and download all
                             10,000 photos, sans duplicates, with genitalia redacted, which’ll
                             come up later cuz it's actually in a part of our lawsuit, is that
                             they're alleging we altered data and all we did was redact genitalia.
                             So, in a weird way, Hunter Biden's lawyers are arguing that we
                             should be in the business …
             V. Coglianese   Wait.
             G. Ziegler      … of displaying Hunter Biden's genitalia.
             V. Coglianese   Right. So, your, your act of, your, which was generous of you. I
                             don't think you had to do this, but your act of privacy …
             G. Ziegler      No, yeah.
             V. Coglianese   … of giving, of giving him some privacy protection, they're
                             construing that as you're manipulating the data for some nefarious
                             purpose?
             G. Ziegler      It's totally, yes, it's totally ridiculous. The reason why we wanted
                             to redact the genitalia, and there's also Joe's daughter-in-law, has
                             naked pictures, we're not in the business of, of distributing
                             pornography. The only reason why we're even going through this
                             laptop in the first place is because it's of public interest. This is the
                             first family of the United States and so we display the criminality,
                             which is solicitation of prostitutes, but we don't show the, the
                             actual genitalia, which we think is responsible …
             V. Coglianese   That’s decent of you.
             G. Ziegler      … they have, they have well, yes, they, they have so little to, to go
                             off of and their lawfare is so desperate that they're saying this
                             violates a, uh, Civil Code in California for deceptive business
                             practices. So, I want all your listeners to know that Abbe Lowell,
                             who makes about $1,600 an hour, he's Hunter Biden's attorney. He
                             is arguing in open court that he wants his client’s genitalia to be,
                             to, to be revealed by, by his essence, that's what he's saying. It's
                             utterly preposterous, but that's where we are.
             V. Coglianese   It's crazy. So, what do you think the point of this is? If you didn't
                             actually, you know, break any laws, and actually you went out of
                             your way, uh, to protect Hunter’s privacy in a meaningful way,
                             then what is this? Is this just designed to bankrupt you, to, to make
                             your life hell for sharing it with the public?
   0:04:12   G. Ziegler      Totally. It's, uh, the vision I'm getting in my head, it's like a, a
                             rubber band is stretched over a, a long, you know, a long structure,
                             that's what they're trying to do. They're trying to stretch us so thin
                             to where we back off. And again, this is what I think they're doing
                             with my former boss, Peter Navarro and DJT to a much greater
                             and criminal extent. Um, luckily, we haven't been raided yet, uh,



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   Minute   Speaker         Dialog
                            James O'Keefe, the gentleman who was, uh, uh, basically going
                            through Ashley Biden's abandoned diary ...
            V. Coglianese   Yes.
            G. Ziegler      … they raided him in November of ‘21, and so I'm just grateful
                            that they haven't raided me yet, although I've gotten multiple visits
                            from the Secret Service. Totally ridiculous, Vince. They said that
                            us sending a copy of our report was, um, was inappropriate. So,
                            we're in a country right now where they're saying it's inappropriate
                            for writers and authors to send verifiable evidence of criminal
                            activity to law enforcement ...
            V. Coglianese   Wait, I'm …
            G. Ziegler      … that's the upside-down world we're living in.
            V. Coglianese   … I'm sorry, help me, I'm sorry. Can, can you walk me through
                            that and, and with any specifics, but the Secret Service visited you
                            to tell you that your behavior was inappropriate? That seems like,
                            you know, a weird, they were scolding you? What was happening?
            G. Ziegler      Yes, so we -- as I mentioned, Marco Polo was founded in ‘21. We
                            released this very long report in October of ‘22 and have since
                            made physical copies of it. We had a printing company print, you
                            know, 15,000 copies. We've given 12,000 out. Our online read
                            review, I want everybody who's listening to know that they can go
                            read this report for free at bidenreport.com. And what we've done
                            is we've sent physical copies of the report to all the U.S. attorneys,
                            uh, in the jurisdictions in which Hunter Biden committed felonies.
                            And these felonies ranged the gamut from FARA violations,
                            money laundering, uh, uh, sex trafficking, four cases of sex
                            trafficking, not underage women, but, but of age prostitutes. And,
                            um, we sent a copy to a Secret Service agent, um, and they said
                            that that was inappropriate. So now, now they're trying to basically
                            -- they know that what we did was not a statute violation, but
                            they’re …
            V. Coglianese   Uh-huh.
            G. Ziegler      … they literally told my attorney that I'm on their list. Um, so this
                            is what happens when you – remember when Joe had that hot mic
                            incident in Florida, he said, no one effs with a Biden. We are
                            getting the brunt of that. This is what happens when you quote eff
                            with a Biden.
            V. Coglianese   Did the Secret Service physically visit you or was this conveyed
                            some other way?
            G. Ziegler      Yep, physically visited me. And then after I gave them the name
                            and number of my counsel, they proceeded to go to my parents’
                            house, uh, and then they ended up calling my wife that night at
                            6:30 PM.
            V. Coglianese   What did they say to her?



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   Minute    Speaker         Dialog
             G. Ziegler      So, these people have abso – uh, they, they left a voicemail cuz
                             they call, they call, they always call from a restricted number, and
                             they wanna talk to ‘em. So, basically, this is their, uh, just
                             nonviolent way to let me know that, that they're watching me. And
                             again, this is soft tyranny, I'm not alleging that they're doing, you
                             know, they put my former boss in leg irons. So, I'm not saying I
                             have it as bad as Peter, but nevertheless, this is just a soft tyranny,
                             where -- and Joe's people let you know that you're being watched.
                             It's, uh, it’s a total clown world. But again, you know our, our
                             mission and background has been very transparent. All we've done
                             is write this report on the laptop and I think the reason why they're
                             going after us is because other news outlets, including the Daily
                             Caller, have been righteously utilizing these e-mail databases to
                             write stories. Because all these people in the laptop, from Antony
                             Blinken on, they're, they're, they have emails on this device. And
                             so, what these other news outlets will do, they'll hyperlink the
                             specific e-mail that we -- that's on our database into their story.
                             And so, this is just Hunter and Abbe Lowell and Kevin Morris's
                             attempt to go after the source of the problem, and they view our
                             righteous reporting as ...
   0:08:01   V. Coglianese   Yes.
             G. Ziegler      … their problem.
             V. Coglianese   They want to intimidate anybody who might report on this as well,
                             uh, from, from getting anywhere near it. Absolutely.
             G. Ziegler      Yeah.
             V. Coglianese   So, so how else has this impacted your life? This is a big deal. I
                             mean, you've got a lot of money on Hunter Biden's side of this
                             equation. What about you? What has this done to you and, and
                             your, your well-being?
             G. Ziegler      Well, let's put it this way. In 2022, Marco Polo's entire c3 budget,
                             which again is a couple employees, a lot of independent
                             contractors, three board members, a very, very small nonprofit.
                             We're not the size of say, you know, like Judicial Watch, there's no
                             development department. We're very small and our entire budget
                             for ‘22 was $195,000. For ‘23 alone we had to spend over
                             $200,000 on attorneys, $200,000. Because along with this federal
                             lawsuit from Hunter in California, his sugar brother, the bong
                             smoker, who appeared in front of Congress last week, he sued us
                             in April of 2023 in California State Court. Now, he committed
                             perjury in his, in his, uh, congressional testimony, he said that
                             they, they won every motion. That is not true. One of our anti-
                             SLAPP causes of action was dismissed. And so, Kevin Morris,
                             pending appeal, actually owes us about $45,000 in legal fees, so he
                             committed perjury. So, beyond those two lawsuits events we've
                             also been written about, uh, to six different government agencies.


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   Minute   Speaker         Dialog
                            Abbe Lowell has tried to get an inspector general's investigation
                            started about me specifically at the Treasury Department because
                            we put, uh, suspicious activity reports about Hunter Biden up on
                            our website. Everybody who's listening can go to bidensars.com,
                            bidensars.com and you can read five SARS that talk about Hunter
                            Biden’s money laundering and sex trafficking, and he wants to
                            criminalize that.
            V. Coglianese   Yes. And now what you just said a moment ago, though, was that
                            you only raised a certain amount of money and your legal
                            expenses exceeded that.
            G. Ziegler      Yeah.
            V. Coglianese   Uh, so, I'm, I'm detecting a math problem. How are you covering
                            that?
            G. Ziegler      Well, thank goodness in ‘23, our donations were much larger than
                            in ‘22. So, we're, we're -- let's put it this way, we are, we, we've
                            been in the black by the skin of our teeth, ah …
            V. Coglianese   Got it.
            G. Ziegler      … partly because, you know, we're trying to sort of, uh, we're
                            trying to rewrite the rules of the, of the fundraising game in that
                            we're trying to do a, a ton of people for, uh, small dollar gifts
                            instead of a few people large dollar gifts. We think that the only
                            thing -- let's put it this way: the only thing we have on the Bidens,
                            our little group, is strength in numbers. Kevin Morris has about
                            $100 million, he's always gonna beat us in just pure cash. The only
                            thing we have is numbers and so we're trying -- you know, we
                            have about, about a 250,000 people who follow us on social media
                            and we're trying to, you know, raise that number up.
            V. Coglianese   So, and they're grateful for the resource that you've created and
                            they're rallying to your defense in the, in light of these attacks.
            G. Ziegler      Precisely.
            V. Coglianese   Okay.
            G. Ziegler      Yeah, precisely. And, and precisely because we put everything out
                            there, right. We, in the e-mail site that I alluded to has been up
                            almost two years. We put it up in May of ‘22. And my friend Mike
                            McCormick, who I know has been on this program …
            V. Coglianese   Yes.
            G. Ziegler      … he, he uses it every single day. In fact, he's like our litmus test.
                            If I get a telegram message from him, uh, he's like, hey, the site’s
                            down, some, you know, something might be wrong with the
                            server, but he'll realize the site’s down within like an hour. That
                            means that it’s like …
            V. Coglianese   Yeah. He’s quality control.
            G. Ziegler      … yeah, we've had 7 million unique IP addresses. So, what, again,
                            they absolutely hate that this is readily available.
            V. Coglianese   I know.


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   Minute    Speaker         Dialog
             G. Ziegler      That's what, part of their relief in the lawsuits is not only punitive
                             damages for me personally and my group, uh, it's to take the
                             websites down. That is their dream is to have a FBI seizure
                             warning on bidenlaptopemails.com.
             V. Coglianese   It’s a censorship lawsuit, yeah, the, for sure. And so, um, let me,
                             let me get to a breaking news headline on this whole saga because
                             I, I didn't realize this until I saw it in the Daily Caller, James
                             Lynch reporting.
             G. Ziegler      He’s great.
             V. Coglianese   Judge presiding over Hunter Biden's lawsuit against Garrett
                             Ziegler, the man I'm speaking to right now, donated to the Biden
                             campaign. So, the federal judge for the Central District of
                             California, Hernán D. Vera, the judge was nominated by President
                             Biden in September of 2021, he was confirmed in ‘23. He donated
                             to the Biden campaign on multiple occasions, and he is presiding
                             over Hunter’s lawsuit against you?
   0:12:23   G. Ziegler      Yes, sir. And his lawsuit against Rudy Giuliani and Bob Costello.
                             Uh, the latter of which I consider a friend and, and, and they're
                             both in the same district, Central District of California. And you
                             know, this isn't chump change, either. Vera has given, at the very
                             least, this is the floor, it might even be more than this with
                             ActBlue. But as a floor he's given, he gave $1,600 to Joe. And Joe
                             nom, had to nominate Vera three different times. So Hernán Vera
                             went to the Senate three different times. The first two the Senate,
                             uh, didn't move on it, and so his nomination was sent back to the
                             White House. So, what does this mean? This means that Joe really
                             wants this guy there. Coincidentally, his, uh, ex-spouse, Vera’s ex-
                             spouse, is Joe's, uh, acting Secretary of Labor. Julie Su was, is the
                             mother of this guy's, uh, children. So, ha, our judge is married to
                             Joe’s, was married to Joe's Secretary of Labor, and again, there's
                             even controversy around Julie Su, his ex-spouse, because she was
                             the deputy Secretary of Labor, and now she hasn't been formally
                             nominated, but she's the acting. Yeah, so, there’s [inaudible] about
                             her, too.
             V. Coglianese   Okay. So, are you, are, are you, are you challenging the fact that
                             this judge is on this case? Are you, are you, and what are the
                             chances that you can get a change of judge here?
             G. Ziegler      I don't know the answer to the, to the, uh, second question. The
                             first question is yes, we are going to challenge it. Um, and again,
                             the federal statute governing possible recusal is the reasonable
                             person standard. The exact language, I did pull it up for the
                             interview, the exact language is, a reasonable person may question
                             the impartiality of the judge, and I think it's totally within reason
                             to question the partiality.



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   Minute    Speaker         Dialog
             V. Coglianese   Yeah, if you fund the plaintiff’s father's political career, you
                             should not be involved in the case, seems pretty obvious.
             G. Ziegler      Totally. And again, this isn't a case of, let's say that Hunter is
                             accusing me of, you know, leaving ruts in his yard right. Like, this
                             isn't, this isn't, uh, totally unrelated to the current impeachment
                             inquiry, I should have started out with that. That's gonna be one of
                             our arguments, that the material that is on our e-mail site that
                             they're suing us over, which is again, we're so totally protected by
                             the First Amendment and reporter’s privilege that it's ridiculous
                             we even, but again it’s cost us tens of thousands of dollars just, uh,
                             you know, just to defend ourselves.
             V. Coglianese   Yes.
             G. Ziegler      But the impeachment inquiry can, could be implicated or vice
                             versa by this proceeding.
             V. Coglianese   Yes.
             G. Ziegler      So, it's not like I said, the, Hunter can't stay, he has to get rid of
                             this.
             V. Coglianese   So, and, and as always, it …
             G. Ziegler      Yeah.
             V. Coglianese   Yeah, I mean, the whole point of the laptop is it's about Joe
                             Biden's behavior, fundamentally.
             G. Ziegler      Yes, precisely.
             V. Coglianese   And so if you have a, you have, if you have a judge who donated
                             to Joe Biden, what are the chances that that person is going to find
                             your arguments in court, ah, worthwhile or do anything to, to give
                             the a fair trial to you, I mean it's so, it’s so crazy.
             G. Ziegler      And just to add to this, you know, I was, the devil's advocate does
                             not work in their favor this time. For example, Hernán worked for
                             years at a left wing nonprofit law firm called Public Counsel,
                             which files all these amicus briefs about the illegal aliens. And so,
                             this is not a, a disinterested guy. Like, for example, if he was just a
                             standard Democrat who worked in private practice for 25 years,
                             right, and then got appointed, uh, that would be a different
                             calculation. But this guy has been, his wife was appointed by
                             Gavin Newsom as the, as the health, or the labor secretary for
                             California. So, these are very, very connected people. This isn't,
                             you know, Garrett Ziegler and Marco Polo being, being unfair, no,
                             this is, uh, this guy has ties, not directly, but indirectly to the, the
                             La Raza group, I'm sure you know about them.
   0:16:16   V. Coglianese   Yes.
             G. Ziegler      Sort of Mexican activists.
             V. Coglianese   Yeah, they're big, they're big, illegal immigrant guys, yeah.
             G. Ziegler      Yeah, they’re basically, they’re basically racialist people. Um,
                             much more than what they accuse, you know, white people of
                             being. So …


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   Minute    Speaker         Dialog
             V. Coglianese   Well yeah, I mean the whole, the name of the organization is The
                             Race, yeah, they’re, it's pretty explicit.
             G. Ziegler      Yeah.
             V. Coglianese   Yeah.
             G. Ziegler      So again, this is um, this is, in a sane world, um, this is dismissed
                             immediately.
             V. Coglianese   In a sane world.
             G. Ziegler      Uh, our hearing is scheduled, yeah, and our hearing’s scheduled
                             for March. They put this suit on us in uh, in September,…
             V. Coglianese   Got it.
             G. Ziegler      … we responded in December. But again, we want all the help we
                             can get, and you know the best way is to get our e-mail database
                             out there, bidenlaptopemails.com. All the pictures can be found at
                             bidenlaptopmedia.com.
             V. Coglianese   Got it.
             G. Ziegler      And then our legal defense fund is fightbiden.org. But again, all of
                             this stuff, like you said, it's about Joe, it's, Hunter is just a
                             sideshow. We, at the end of the day, don't care about Hunter we
                             care about Joe running …
             V. Coglianese   Yes.
             G. Ziegler      … a global FARA violating scheme, that's essentially what it was,
                             they’re Hunter’s businesses.
             V. Coglianese   And your, and your legal case, and your legal case has all the
                             familiar markings of corruption that so many of these cases do.
                             Hey, Garrett Ziegler, thank you very much. We'll have to talk to
                             you again soon. Best of luck, sir, thank you very much.
   0:17:36                   End of transcription.




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